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 1                                UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                    ***
 4    David M.,                                             Case No. 2:24-cv-01013-BNW
 5                            Plaintiff,
                                                                       ORDER
 6            v.
 7    Martin O’Malley,
                              Defendant.
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              Before the Court is Plaintiff’s application to proceed in forma pauperis. ECF No. 1.
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     I.       In Forma Pauperis Application
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              Plaintiff submitted the declaration required by 28 U.S.C. § 1915(a) showing an inability to
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     prepay fees and costs or give security for them. Accordingly, Plaintiff’s request to proceed in
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     forma pauperis will be granted.
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     II.      Screening the Complaint
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              Upon granting a request to proceed in forma pauperis, a court must screen the complaint
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     under 28 U.S.C. § 1915(e)(2). Given that the concerns underlying the screening requirement of
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     § 1915(e) are obviated by the fact that plaintiff is represented by counsel, the Court finds it is not
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     in the interests of judicial economy to screen the complaint. The Court, therefore, will not enter a
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     screening order. This case shall proceed on the normal litigation track.
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              Based on the foregoing, IT IS ORDERED that:
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                     1.      Plaintiff’s request to proceed in forma pauperis (ECF No. 1) is
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     GRANTED. Plaintiff will not be required to pay the filing fee of $405.00.
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                     2.      Plaintiff is permitted to maintain this action to conclusion without the
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     necessity of prepayment of any additional fees or costs or giving security for them. This Order
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     granting leave to proceed in forma pauperis does not extend to the issuance of subpoenas at the
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     government’s expense.
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                     3.      The Clerk of Court must file the Complaint.
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 1                   4.      The Clerk of Court shall provide notice of this action to the Commissioner

 2   pursuant to Rule 3 of the Supplemental Rules for Social Security.

 3                   5.      From this point forward, Plaintiff must serve on Defendant or, if

 4   appearance has been entered by an attorney, on the attorney, a copy of every pleading, motion, or

 5   other document submitted for consideration by the Court. Plaintiff must include with the original

 6   paper submitted for filing a certificate stating the date that a true and correct copy of the

 7   document was personally served or sent by mail to the Defendant or counsel for the Defendant.

 8   The Court may disregard any paper received by a District Judge or Magistrate Judge that has not

 9   been filed with the Clerk, and any paper received by a District Judge, Magistrate Judge, or the

10   Clerk that fails to include a certificate of service.

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12           DATED: June 14, 2024.

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                                                             BRENDA WEKSLER
14                                                           UNITED STATES MAGISTRATE JUDGE
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